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                       9   EMI BLACKWOOD MUSIC INC.
                      10
                      11                        UNITED STATES DISTRICT COURT

                      12                      CENTRAL DISTRICT OF CALIFORNIA

                      13
                      14   PLEASE GIMME MY PUBLISHING,              No. 2:19-cv-01527-DMG (FFMx)
                           INC., a New York corporation; WEST
                      15   BRANDS, LLC, a Delaware limited          DEFENDANTS’ MEMORANDUM
                           liability corporation; KANYE WEST, an    OF LAW IN OPPOSITION TO
                      16   individual; and YE WORLD                 PLAINTIFFS’ MOTION TO
                           PUBLISHING, INC., a Delaware             REMAND
                      17   corporation, also doing business as YE
                      18   WORLD MUSIC,                             Hearing Date:    August 30, 2019
                                                                    Hearing Time:    9:30 a.m.
                      19              Plaintiffs,
                      20        v.
                      21   EMI APRIL MUSIC INC., a Connecticut
                           corporation; EMI BLACKWOOD
                      22   MUSIC INC., a Connecticut corporation;
                      23   and DOES 1-10,
                      24              Defendants.
                      25
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M ANATT , P HELPS &
  P HILLIPS , LLP                                                                 DEFENDANTS’ OPPOSITION TO
  ATTO RNEY S AT LAW                                                           PLAINTIFFS’ MOTION TO REMAND
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                       1   I.    INTRODUCTION
                       2         EMI’s Notice of Removal (the “Removal”) demonstrates that this Court has
                       3   subject matter jurisdiction over Plaintiffs’ improperly filed California state court
                       4   action on two grounds: diversity and federal question.1 Plaintiffs now seek to
                       5   remand this action back to state court in an effort to forum shop their way into
                       6   California state court to seek benefits under California law to which they are not
                       7   entitled. At this early stage, Plaintiffs already have, among other things, (i)
                       8   breached the agreements at issue by filing this action in California state court; (ii)
                       9   named Please Gimme as a plaintiff, notwithstanding the fact that the company has
                      10   not existed for almost a decade; (iii) breached the agreements at issue by
                      11   challenging EMI’s efforts to have this action transferred to the Southern District of
                      12   New York (the “SDNY”); and (iv) repeatedly misrepresented the facts and law to
                      13   the Court in their opposition to EMI’s motion to transfer and in their motion to
                      14   remand (the “Motion”). The Court should put an end to these improper tactics once
                      15   and for all, and deny Plaintiffs’ Motion.
                      16         First, because Please Gimme has been dissolved since January 27, 2010, and
                      17   long ago assigned all of its rights and obligations to West Brands, it has no standing
                      18   to sue EMI, and its former New York citizenship does not destroy the complete
                      19   diversity between the parties.2 In their Motion, Plaintiffs continue to misrepresent
                      20   that Please Gimme is, and continues to be, a New York citizen. Plaintiffs maintain
                      21   this fiction because they believe that a California state court is more likely to look
                      22   past the exclusive New York forum selection and New York choice of law clauses
                      23   in the agreements at issue, and allow Plaintiffs to seek relief under California Labor
                      24
                           1
                      25     “Plaintiffs” collectively refers to plaintiffs Kanye West; West Brands, LLC
                           (“West Brands”); Please Gimme My Publishing, Inc. (“Please Gimme”); and Ye
                      26   World Publishing, Inc. (“Ye World”). “EMI” collectively refers to defendants EMI
                           April Music Inc. and EMI Blackwood Music Inc.
                      27   2
                             Plaintiffs’ sole challenge to diversity jurisdiction is predicated on Please Gimme’s
                           purported New York citizenship. Plaintiffs do not appear to contest (nor could
                      28   they) that this Action meets the amount in controversy requirement.
M ANATT , P HELPS &
  P HILLIPS , LLP                                                                        DEFENDANTS’ OPPOSITION TO
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                       1   Code § 2855 (“Section 2855”), even though they have no right to do so. Plaintiffs
                       2   have committed themselves to this strategy even though it requires them to argue
                       3   that Please Gimme, which has no legal existence or surviving rights, is not only
                       4   relevant to, but also dispositive of, the Court’s jurisdictional analysis. As discussed
                       5   in more detail below, Plaintiffs’ argument is as false as it is specious because Please
                       6   Gimme unquestionably is a sham plaintiff.
                       7         Second, Plaintiffs wrongly claim that this Court lacks federal question
                       8   jurisdiction because their constructive trust claim and unjust enrichment claim do
                       9   not seek to enforce rights that are equivalent to those protected by the Copyright
                      10   Act. As to the former claim, Plaintiffs ignore portions of their claim, attempting to
                      11   fit a square peg into a round hole in order to rely on otherwise inapposite cases.
                      12   With respect to their unjust enrichment claim, Plaintiffs draw baseless comparisons
                      13   between it and an accounting claim, suggest that copyright claims can only exist in
                      14   the absence of pre-existing contractual relationships, ignore essential elements of
                      15   the relief they seek, and rely on inapplicable case law. Notwithstanding their varied
                      16   attempts to distinguish their unjust enrichment claim from a copyright claim, none
                      17   withstands scrutiny. Plaintiffs cannot escape the fact that both their constructive
                      18   trust claim and unjust enrichment claim are part and parcel of a copyright claim.
                      19   Accordingly, the Copyright Act preempts them.
                      20         For these reasons, which are addressed more fully below, EMI properly
                      21   removed this action to this Court on the basis of diversity and federal question
                      22   jurisdiction. The Court, therefore, should deny the Motion.
                      23   II.   RELEVANT FACTUAL AND PROCEDURAL BACKGROUND
                      24   The 2003 Agreement And The Modifications
                      25         The Court is already familiar with the substantive factual background and
                      26   description of this case, which are set forth at pages 3 through 6 of EMI’s motion to
                      27   transfer or dismiss (the “Transfer Motion”). (Dkt. 10) EMI, thus, only highlights
                      28   those facts that are relevant to Plaintiffs’ Motion.
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  P HILLIPS , LLP                                                                       DEFENDANTS’ OPPOSITION TO
  ATTO RNEY S AT LAW
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                       1          In the Complaint (“Complaint” or “Cplt.”), Plaintiffs allege that, effective
                       2   October 1, 2003, West entered into an agreement with EMI (the “2003
                       3   Agreement”) under which EMI acquired a 50 percent share of the copyrights in,
                       4   and the right to administer, certain musical compositions written or co-written by
                       5   West (the “Compositions”) for a finite period of time, in exchange for advance and
                       6   royalty payments that amounted to tens of millions of dollars.3 (Cplt. ¶ 22; Gierl
                       7   Decl. ¶ 2, Exh. A at ¶¶ 8.01, 8.02) The parties thereafter entered into several
                       8   agreements modifying and/or extending the 2003 Agreement (each a
                       9   “Modification”, and collectively, the “Modifications”). (See Cplt. ¶¶ 36, 37, 47, 51,
                      10   58, 66; Gierl Decl. ¶¶ 3-9, Exhs. B-H) Each Modification incorporates, ratifies, and
                      11   confirms the 2003 Agreement and any preceding modifications. (Gierl Decl. ¶ 3,
                      12   Exh. B at ¶ 3; id. at ¶ 4, Exh. C at ¶ 6; id. at ¶ 5, Exh. D at ¶ 11; id. at ¶ 6, Exh. E at
                      13   ¶ 9; id. at ¶ 7, Exh. F at ¶ 10; id. at ¶ 8, Exh. G at ¶ 5; id. at ¶ 9, Exh. H at ¶ 11) The
                      14   2003 Agreement and its Modifications (collectively, the “Agreements”) reflect the
                      15   parties’ bargain.4 (See Gierl Decl. ¶ 2, Exh. A at ¶ 24.01)
                      16          The 2003 Agreement contains an exclusive forum selection clause (the
                      17   “Exclusive New York Forum Selection Clause”), which states in pertinent part:
                      18            ANY CLAIM ARISING OUT OF OR RELATING TO THIS
                                    AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
                      19            HEREBY SHALL BE INSTITUTED AND MAINTAINED
                                    EXCLUSIVELY IN ANY FEDERAL OR STATE COURT
                      20            LOCATED WITHIN THE COUNTY OF NEW YORK IN THE
                                    STATE OF NEW YORK.
                      21
                      22   (Gierl Decl. ¶ 2, Exh. A at ¶ 21.01) The 2003 Agreement also includes a New York

                      23   choice of law clause (the “New York Choice Of Law Clause”):

                      24   3
                             EMI annexed as Exhibit A to the Removal filed with this Court the original state
                      25   court Complaint. (Dkt. 1-1) To avoid burdening the Court with duplicative
                           exhibits, unless otherwise noted, all referenced exhibits are attached to the
                      26   Declaration of Maura K. Gierl (“Gierl Decl.”) in support of EMI’s Motion to
                           Transfer. (Dkt. 10-1)
                      27   4
                             Seasoned and reputable music industry lawyers represented West with respect to
                           each of the Agreements, and negotiated them on his behalf. (See Gierl Decl. ¶ 2,
                      28   Exh. A at 1, ¶ 24.01; see generally Gierl Decl. ¶¶ 2-9, Exhs. A-H)
M ANATT , P HELPS &
  P HILLIPS , LLP                                                                          DEFENDANTS’ OPPOSITION TO
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                       1            THIS AGREEMENT SHALL BE DEEMED ENTERED INTO IN
                                    THE STATE OF NEW YORK AND THE VALIDITY,
                       2            INTERPRETATION AND LEGAL EFFECT OF THIS
                                    AGREEMENT SHALL BE GOVERNED BY THE INTERNAL
                       3            LAWS OF THE STATE OF NEW YORK APPLICABLE TO
                                    CONTRACTS ENTERED INTO AND PERFORMED ENTIRELY
                       4            WITHIN THE STATE OF NEW YORK, WITH RESPECT TO
                                    THE DETERMINATION OF ANY CLAIM, DISPUTE OR
                       5            DISAGREEMENT WHICH MAY ARISE OUT OF THE
                                    INTERPRETATION, PERFORMANCE OR BREACH OF THIS
                       6            AGREEMENT OR WHICH IN ANY OTHER RESPECT
                                    RELATES TO THIS AGREEMENT.
                       7
                           (Id. at ¶ 21.01) Plaintiffs agreed to the Exclusive New York Forum Selection
                       8
                           Clause and the New York Choice Of Law Clause in the 2003 Agreement when
                       9
                           West signed it, and again when West signed the seven Modifications expressly
                      10
                           ratifying and confirming the 2003 Agreement. (Gierl Decl. ¶¶ 2-9, Exhs. A-H)
                      11
                           Please Gimme’s Dissolution
                      12
                                 In the 2004 Modification, Please Gimme, one of West’s publishing
                      13
                           designees, became a party to the 2003 Agreement. (Gierl Decl. ¶ 3, Exh. B at 1)
                      14
                           However, the Department of State of the State of New York’s records confirm that
                      15
                           Please Gimme was thereafter dissolved, and has remained so since at least January
                      16
                           27, 2010. (Dkt. 2, ¶ 6, Exh. E) In the 2012 Modification, West and West Brands
                      17
                           expressly acknowledge (i) Please Gimme’s dissolution; (ii) that all of Please
                      18
                           Gimme’s stock had been transferred to West Brands; and (iii) that “all rights, titles,
                      19
                           interests and assets of . . . Please Gimme, including . . . all retained copyright
                      20
                           interests in the Compositions . . . have been assigned and transferred to [West
                      21
                           Brands] . . . the sole member of which is [West].” (Gierl Decl. ¶ 8, Exh. G at ¶¶
                      22
                           2.01(a)-(b)) The 2012 Modification further confirms that Please Gimme is merely
                      23
                           West Brands’ d/b/a, and that Defendants expressly agreed that they will “not
                      24
                           reinstate . . . Please Gimme as an independent corporate entity.” (Gierl Decl. ¶ 8,
                      25
                           Exh. G at ¶¶ 2.01(c), 2.03, 3.07) In addition, the 2012 Modification and the 2014
                      26
                           Modification make clear that Please Gimme is included solely as West Brands’
                      27
                           d/b/a. (Gierl Decl. ¶ 8, Exh. G at 1; id. ¶ 9, Exh. H at 1)
                      28
M ANATT , P HELPS &
  P HILLIPS , LLP                                                                           DEFENDANTS’ OPPOSITION TO
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                       1   Procedural History
                       2         Notwithstanding the foregoing, on January 25, 2019, Plaintiffs, including the
                       3   dissolved Please Gimme, sued EMI in California state court (the “California
                       4   Action”), seeking, among other things, a declaration that (i) the 2003 Agreement
                       5   and the Modifications are unenforceable, and have been since October 1, 2010
                       6   under California law; and (ii) EMI’s bargained-for copyright ownership and other
                       7   rights in the Compositions should immediately revert to West. (Cplt. Exh. A, ¶¶ 1,
                       8   71) Plaintiffs further allege that they are entitled to “restitution” based on the fact
                       9   that Defendants benefited “by taking assignments of Plaintiffs’ rights to the
                      10   [C]ompositions” that West delivered to them on or after October 1, 2010 (seven
                      11   years after the 2003 Agreement), and by “receiving licensing and other revenues
                      12   from the exploitation” of Compositions delivered before and after October 1, 2010.
                      13   (Cplt. ¶ 75 (emphasis added)) Finally, Plaintiffs allege that Defendants have
                      14   wrongfully withheld from Plaintiffs EMI’s bargained-for rights and interests in the
                      15   Compositions, and the portion of the monies generated by exploitation of the
                      16   Compositions that EMI retained as co-owner of the copyrights in the Compositions.
                      17   (Id. ¶ 78) Specifically, Plaintiffs allege that EMI is withholding “the ownership
                      18   interest Plaintiffs conveyed to EMI in each musical composition delivered to [it] on
                      19   or after October 1, 2010”, and “the monies EMI received . . . from the exploitation
                      20   of any musical composition Plaintiffs delivered to EMI both before and after
                      21   October 1, 2010, less any monies EMI has already paid to Plaintiffs”. (Id.
                      22   (emphasis added)) Because the parties are completely diverse (notwithstanding
                      23   Plaintiffs’ improper inclusion of Please Gimme), and because the U.S. Copyright
                      24   Act completely preempts Plaintiffs’ unjust enrichment and constructive trust
                      25   claims, EMI removed the California Action to the U.S. District Court for the
                      26   Central District of California. (Dkt. 1)
                      27         By filing the California Action and seeking to apply California law to the
                      28   Agreements, Plaintiffs intentionally defied the parties’ Exclusive New York Forum
M ANATT , P HELPS &
  P HILLIPS , LLP                                                                        DEFENDANTS’ OPPOSITION TO
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                       1   Selection Clause and New York Choice Of Law Clause. Plaintiffs’ filing of the
                       2   California Action was singular in purpose: they wanted to forum shop their way
                       3   around those clauses (to which they voluntarily – and repeatedly – agreed to be
                       4   bound) in order to seek the benefits of Section 2855, which makes “contract[s] for
                       5   personal services” unenforceable after seven years. (Id.) Even if Section 2855
                       6   were applicable here (and it is not because the Agreements are not personal services
                       7   contracts), Plaintiffs’ Section 2855 claim would not have accrued until October 1,
                       8   2010 – seven years after the 2003 Agreement was entered into, and more than eight
                       9   months after Please Gimme was dissolved. Regardless, because the Agreements’
                      10   Exclusive New York Forum Selection Clause and New York Choice Of Law
                      11   Clause foreclose Plaintiffs from prosecuting the California Action and relying on
                      12   the Section 2855 to evade West’s contractual commitments to EMI, EMI had no
                      13   choice but to file the Transfer Motion. (Dkt. 10)
                      14         At the same time, Plaintiffs’ filing of, and the purported claims they
                      15   advanced in, the California Action created a justiciable controversy between the
                      16   parties concerning their respective rights and obligations under the Agreements, and
                      17   constituted a material breach of the Agreements, entitling EMI to declaratory and
                      18   injunctive relief in the SDNY. Accordingly, and consistent with the Agreements’
                      19   Exclusive New York Forum Selection Clause and New York Choice Of Law
                      20   Clause, EMI filed a complaint on March 7, 2019 in the SDNY (the “SDNY
                      21   Action”). (SDNY Case No. 19-cv-2127, Dkt. 1) On June 27, 2019 – almost four
                      22   months after EMI removed this action and one month before Plaintiffs filed this
                      23   Motion – West and West Brands moved to dismiss, transfer, or stay the SDNY
                      24   Action on the theory that the SDNY supposedly lacked subject matter jurisdiction
                      25   and on forum non conveniens grounds. (SDNY Case No. 19-cv-2127, Dkt. 20)
                      26   Briefing on that motion is ongoing.
                      27         Additionally, because of Plaintiffs’ conduct in this action, including their
                      28   naming of Please Gimme as a sham plaintiff and their threatened (and, now, actual)
M ANATT , P HELPS &
  P HILLIPS , LLP                                                                      DEFENDANTS’ OPPOSITION TO
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                       1   motion to remand this action to California state court, EMI moved for a preliminary
                       2   injunction in the SDNY on July 31, 2019, seeking to enjoin West and West Brands
                       3   from prosecuting this action during the pendency of the SDNY Action. (SDNY
                       4   Case No. 19-cv-2127, Dkts. 34, 35)
                       5   III.   ARGUMENT
                       6          A.    Plaintiffs’ Motion Should Be Denied Because
                                        The Court Has Diversity Jurisdiction
                       7
                       8          The Removal demonstrates that this Court has diversity jurisdiction over this
                       9   Action pursuant to 28 U.S.C. § 1332.5 (Dkt. 1 at ¶¶ 16-28) Among other things,
                      10   EMI established that, although Plaintiffs named Please Gimme as a plaintiff in an
                      11   effort to destroy diversity, Please Gimme has no standing to sue EMI and is a sham
                      12   plaintiff because it had been dissolved for nine years as of the time of filing. (Id. at
                      13   ¶¶ 20-21) Plaintiffs argue in the Motion that, notwithstanding Please Gimme’s
                      14   dissolution (which they still refuse to acknowledge), Please Gimme nevertheless
                      15   destroys diversity and bars removal. Plaintiffs’ arguments are yet another example
                      16   of their forum shopping tactics: they want Please Gimme in this case because they
                      17   want to proceed before a California state court, and avoid the reach of the Exclusive
                      18   New York Forum Selection Clause and New York Choice Of Law Clause in the
                      19   Agreements. Regardless, Plaintiffs are wrong, and their arguments are frivolous.
                      20          First, the Department of State of the State of New York’s records confirm
                      21   that Please Gimme has been dissolved since at least January 27, 2010. (Dkt. 2, ¶ 6,
                      22   5
                             It is undisputed that, for purposes of diversity, plaintiff West is considered a
                           citizen of California, plaintiff West Brands is considered a citizen of Delaware and
                      23   California, and both defendant EMI entities are considered citizens of Connecticut
                           and New York. (Dkt. 1 ¶¶ 18, 19, 24) Although Ye World’s citizenship is
                      24   irrelevant for many of the same reasons discussed in this Section III.A (see Dkt. 1
                           ¶¶ 20-23), because it previously was a Delaware and California citizen, it would not
                      25   destroy diversity even if were an extant company (which it is not). See 28 U.S.C. §
                           1332(c); see also Davis v. HSBC Bank Nevada, N.A., 557 F.3d 1026, 1028 (9th Cir.
                      26   2009) (citing 28 U.S.C. §1332(c)(1)); Jong v. Gen. Motors Corp., 359 F. Supp. 223,
                           226 (N.D. Cal. 1973) (“whether diversity exists between the plaintiffs and the
                      27   defendants for removal purposes must be made on the record as it stands at the time
                           the removal petition is filed”). Accordingly, only Please Gimme’s citizenship, or
                      28   lack thereof, is pertinent to this Court’s diversity analysis.
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                       1   Exh. E) As Plaintiffs acknowledge, diversity jurisdiction is determined at the time
                       2   of removal. (See Mot. 9) Because Please Gimme did not exist at the time of
                       3   removal (or filing), it was and is not an independent legal entity that has the
                       4   capacity or standing to sue. See The Capital Gold Grp., Inc. v. Nortier, 176 Cal.
                       5   App. 4th 1119, 1127 (2009) (corporation that lacks capacity to sue in its home state
                       6   based on a lack of corporate status also lacks capacity to sue in California); Moran
                       7   Enters., Inc. v. Hurst, 888 N.Y.S.2d 109 (App. Div. 2009) (“A dissolved
                       8   corporation . . . does not enjoy the right to bring suit in the courts of this state
                       9   [except in limited circumstances.]”).
                      10         Irrespective of these facts, Plaintiffs suggest that EMI improperly asks the
                      11   Court to “disregard the Complaint’s well-pleaded allegations”, which purport to
                      12   aver that Please Gimme “is” a New York corporation (Cplt. ¶ 10). (Mot. 10) But
                      13   Plaintiffs are not entitled to rely on the Complaint’s self-serving allegations that are
                      14   directly contradicted by verifiable – and irrefutable – facts. Indeed, when
                      15   citizenship is questioned on a remand motion, the court may look beyond the
                      16   pleadings, and consider other evidence of citizenship. See, e.g., Hernandez v.
                      17   ConAgra Foods Packaged Foods, Case No. 19-cv-065, 2019 WL 1488739, at *2
                      18   (E.D. Cal. April 4, 2019) (denying motion to remand). Thus, there is no question
                      19   that the Court can – and should – consider the Department of State of the State of
                      20   New York’s records that conclusively demonstrate that Please Gimme has not been
                      21   an extant company since January 27, 2010.6 For this reason, the Court should reject
                      22   the entirety of Plaintiffs’ argument.
                      23         Second, Plaintiffs’ contention that Please Gimme still has the capacity to sue
                      24   even if it is dissolved, which they do not concede (Mot. 10-11), is contrary to
                      25
                           6
                             These public records also are subject to judicial notice pursuant to Federal Rule of
                      26   Evidence 201. See Zella v. E.W. Scripps Co., 529 F. Supp. 2d 1124, 1128 (C.D.
                           Cal. 2007). Accordingly, EMI respectfully requests that the Court consider and
                      27   take judicial notice of the records, which are attached as Exhibit E to the
                           Declaration of Robert A. Jacobs, which was submitted in support of the Removal.
                      28   (See Dkt. 2, ¶ 6, Exh. E)
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                       1   controlling New York law. Under New York law, which Plaintiffs admit is binding
                       2   here (Mot. 11), a corporation continues to exist after dissolution only for purposes
                       3   of winding up its affairs, and may only “sue or be sued on its obligations, including
                       4   contractual obligations and contingent claims, until its affairs are fully adjusted”.
                       5   N.Y. Bus. Corp. Law § 1006 (emphasis added). After its obligations and claims
                       6   existing at the time of dissolution are resolved, the corporation no longer has
                       7   standing to sue or be sued, including with respect to liabilities accruing after
                       8   dissolution. See Moran, 66 A.D.3d at 975 (“a dissolved corporation is prohibited
                       9   from carrying on new business . . . and does not enjoy the right to bring suit” on
                      10   claims accruing after dissolution). Plaintiffs attempt to distinguish Moran on the
                      11   ground that the court “held that a dissolved corporation retained the capacity to
                      12   sue”. (Mot. 11) Plaintiffs’ characterization of Moran’s holding is misleading. In
                      13   reality, Moran distinguished between claims that existed pre-dissolution and post-
                      14   dissolution. 66 A.D.3d at 975. As to the latter, the court unequivocally held that
                      15   these claims do “not relate to the winding up of [the dissolved company’s] affairs”,
                      16   and, thus, dissolved companies “lack . . . the capacity to use the courts” to pursue
                      17   such claims. Id. at 975-76.
                      18         Here, Plaintiffs admit that their purported Section 2855, constructive trust,
                      19   and unjust enrichment claims did not accrue until October 1, 2010 – more than
                      20   eight months after Please Gimme’s dissolution. (Cplt. ¶ 2 (“[t]he seven year period
                      21   ended under this contract on October 1, 2010”); id. at ¶¶ 74-78 (constructive trust
                      22   and unjust enrichment claims accrued on October 1, 2010) Plaintiffs also admit
                      23   that the monetary recovery on their purported constructive trust claim is limited to
                      24   the four-year period prior to the filing of this lawsuit, which period post-dates
                      25   Please Gimme’s dissolution by nearly five years. (Cplt. ¶ 78(b)) Because all of the
                      26   claims at issue accrued well after Please Gimme’s January 27, 2010 dissolution,
                      27   they cannot be considered part of Please Gimme’s winding up efforts. As such,
                      28   Please Gimme has no interest relating to this Action, should not have been named
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                       1   as a plaintiff, and cannot destroy diversity.
                       2          The cases on which Plaintiffs rely do not warrant a different result. In Race
                       3   Safe Sys, Inc. v. Indy Racing League, 251 F. Supp. 2d 1106, 1108 (N.D.N.Y. 2003),
                       4   the court confirmed that corporations only may sue following dissolution for
                       5   purposes of winding up their affairs. In citing Race Safe, Plaintiffs leave out this
                       6   important limitation, because, if they acknowledge it, it dooms their diversity
                       7   argument for the reasons discussed above. (See Mot. 11) Plaintiffs’ reliance on
                       8   Briarpatch Ltd. v. Thomas, 265 F. Supp. 2d 219 (S.D.N.Y. 2003) also is misplaced.
                       9   In Briarpatch, unlike here, the dissolved corporation continued to conduct business,
                      10   and engaged in post-dissolution misconduct. Id. at 222. Then, in an attempt to
                      11   avoid liability, the corporation falsely claimed that it was immune from the liability
                      12   triggered by its post-dissolution misconduct due to its dissolved corporate status.
                      13   Id. at 222-23. The court rejected the corporation’s attempt to use its dissolution as a
                      14   shield to liability, noting that its “dissolution does not insulate it from liability for
                      15   its post-dissolution misconduct”. Id. at 223. Briarpatch is inapposite here because
                      16   Please Gimme’s purported claims against EMI did not exist and could not have
                      17   existed prior to Please Gimme’s dissolution; do not concern Please Gimme’s
                      18   winding up of its affairs; and do not implicate any of Please Gimme’s post-
                      19   dissolution conduct (because there was none).
                      20          Third, Please Gimme’s citizenship is irrelevant for a separate reason: it lacks
                      21   standing as a result of the company’s merger into West Brands and assignment of
                      22   all of its rights, title, interests, assets, and obligations under the Agreements to West
                      23   Brands. (Dkt. 1 at ¶ 22; Gierl Decl. ¶ 8, Exh. G at ¶¶ 2.01(a)-(b), 2.02) Plaintiffs
                      24   ignore these facts altogether; however, these facts confirm that Please Gimme is an
                      25   improper plaintiff that is irrelevant to the determination of the parties’ citizenship.
                      26   See Cargo Partner AG v. Albatrans, Inc., 452 F.3d 41, 44-45 (2d Cir. 2003)
                      27   (recognizing de facto merger when there is, in substance, a consolidation or merger
                      28   of seller and purchaser); Hughes v. BCI Int’l Holdings, Inc., 452 F. Supp. 2d 290,
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                       1   301 (S.D.N.Y. 2006) (acquisition of all assets of company sufficient to establish de
                       2   facto merger).
                       3           Fourth, because Please Gimme is merely a d/b/a of West Brands, it has no
                       4   distinct legal existence, and, therefore, cannot sue or be sued. See Tr. of Constr.
                       5   Indus. & Laborers Health & Welfare Tr. v. C & W Enters., Inc., 298 F. App’x 566,
                       6   567 (9th Cir. 2008) (“The designation ‘d/b/a’ is merely descriptive [,] and does not
                       7   create a distinct corporate entity”); PB Farradyne, Inc. v. Peterson, Case No. C 05-
                       8   3447, 2006 WL 132182, at *5 (N.D. Cal. Jan. 17, 2006) (a d/b/a “is not a separate
                       9   legal entity capable of . . . asserting any claims of infringement”); accord Cusano v.
                      10   Horipro Entm’t Grp., 301 F. Supp. 2d 272, 277 (S.D.N.Y. 2004) (“Use of a
                      11   fictitious business name [including the d/b/a designation] does not create a separate
                      12   legal entity” distinct from its owner); In re Residential Capital, LLC, Case No. 12-
                      13   12020, 2014 WL 3057111, at *3 (Bankr. S.D.N.Y. July 7, 2014) (same). Plaintiffs
                      14   claim that EMI bases its argument that Please Gimme is merely a d/b/a of West
                      15   Brands solely on West’s and West Brands’ agreement in the 2012 Modification that
                      16   they would not reinstate Please Gimme as a stand-alone corporate entity. (Mot. 13)
                      17   But that is inaccurate. As the Removal highlights, both the 2012 Modification and
                      18   2014 Modification confirm that Please Gimme is a d/b/a of West Brands because
                      19   the Modifications refer to Please Gimme as such. (Dkt. 1 at ¶ 23; Dkt. 2, ¶¶ 3-4,
                      20   Exhs. B-C (referring to Please Gimme as a “d/b/a” of West Brands)) Plaintiffs’
                      21   cherry picking of facts notwithstanding, they cannot overcome the fact that Please
                      22   Gimme simply is a d/b/a of West Brands with no independent ability to sue or be
                      23   sued.
                      24           Fifth, Plaintiffs’ attempt to escape the effects of the foregoing dispositive
                      25   facts by blaming the New York Secretary of State for Please Gimme’s dissolution
                      26   has no basis in the law. Specifically, Plaintiffs argue that the fact that Please
                      27   Gimme’s dissolution “was the result of an administrative action by the New York
                      28   Secretary of State” somehow immunizes them from the legal effects of dissolution.
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                       1   (Mot. 11) Tellingly, Plaintiffs cite no authority that remotely supports that
                       2   proposition. To the contrary, New York law does not distinguish between the
                       3   reasons for dissolution in evaluating the dissolved corporation’s capacity to sue.
                       4   See, e.g., Moran, 66 A.D.3d at 975 (company dissolved by proclamation).
                       5   Similarly, Plaintiffs’ reliance on their claim that Please Gimme remains registered
                       6   as a foreign New York corporation in California, and continues to file statements of
                       7   information in California, is irrelevant. (See Mot. 11) As discussed above,
                       8   Plaintiffs acknowledge that, pursuant to Rule 17 of the Federal Rules of Civil
                       9   Procedure, a corporation’s capacity to sue or be sued is determined by the laws of
                      10   the state under which it was incorporated. (Id.) Please Gimme’s capacity to sue is
                      11   based on its corporate status in New York, not on foreign filings elsewhere.7
                      12         Sixth, Plaintiffs similarly cannot invoke EMI’s reliance on Please Gimme’s
                      13   prior representations regarding its citizenship, or EMI’s previous purported
                      14   statements concerning Please Gimme’s citizenship, to overcome the fact that Please
                      15   Gimme was dissolved almost a decade ago. In particular, Please Gimme oddly
                      16   argues that “EMI did not believe Please Gimme’s status as a dissolved corporation
                      17   made a legal difference in 2011” when the 2011 Modification was entered into.
                      18   (Mot. 10) Please Gimme is making an illogical leap. The 2011 Modification was
                      19   the result of an arms-length negotiation. Accordingly, any “knowledge” EMI had
                      20   in 2011 concerning Please Gimme’s corporate status necessarily was based on
                      21   Please Gimme’s representations. If anything, Plaintiffs’ position merely suggests
                      22   that they intentionally misrepresented Please Gimme’s corporate status in 2011
                      23   when negotiating the 2011 Modification. Regardless, Please Gimme offers no
                      24   explanation as to why what EMI believed in 2011 matters at all here, especially in
                      25   light of the incontrovertible fact that Please Gimme was dissolved no later than
                      26
                           7
                             It will not be lost on the Court that Please Gimme’s corporate status on the
                      27   California Secretary of State website is “FTB Forfeited”, meaning that the
                           “business entity was . . . forfeited by the Franchise Tax Board for failure to meet tax
                      28   requirements”. (Jacobs Decl. ¶¶ 2-3, Exhs. A-B)
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                       1   January 27, 2010, and controlling law clearly establishing that it has no standing to
                       2   sue on claims that accrued after its dissolution. (See pages 7-11, supra)
                       3         The same is true with respect to Plaintiffs’ attempts to rely on EMI’s
                       4   supposed statements concerning Please Gimme’s citizenship in other cases. As an
                       5   initial matter, Plaintiffs overstate EMI’s so-called “admissions”, all of which
                       6   predate this litigation by years. (Mot. 12) The first three cases on which Plaintiffs
                       7   rely to show that EMI supposedly admitted that Please Gimme is an extant entity
                       8   are irrelevant because Broadcast Music, Inc. (“BMI”), a performing rights
                       9   organization (“PRO”), not EMI, filed them, and decided to name both Please
                      10   Gimme and EMI as plaintiffs. (Id.; see also Schwartz Decl. ¶¶ 13-15, Exhs. 1-3)
                      11   PROs, like BMI, enter into affiliation agreements for public performance rights in
                      12   musical compositions controlled by their member music publishers and songwriters
                      13   that give it the ability to grant to music users certain performance rights. See
                      14   Broad. Music, Inc. v. McDade & Sons, Inc., 928 F. Supp. 2d 1120, 1130 (D. Ariz.
                      15   2013). It is well-established (and presumably well-known to Plaintiffs) that PROs
                      16   often file lawsuits to enforce the copyrights to which they have been granted
                      17   licenses. See, e.g., id.; see also Sergio Bichao, BMI Song Lawsuits Make Rounds in
                      18   Jersey Bars, USA Today, June 10, 2015, available at https://www.usatoday.com/
                      19   story/money/business/2015/06/10/bmi-song-lawsuits-jersey-restaurants/71037378/
                      20   (“To this day, PROs are active in bringing lawsuits enforcing the public
                      21   performance rights of the copyright holders who have included their works in the
                      22   PRO catalogues.”). Additionally, PROs routinely name their members (such as
                      23   EMI) as plaintiffs in their lawsuits, regardless of their members’ individual
                      24   knowledge of the facts underlying the dispute. See, e.g., Broad. Music, Inc., 928 F.
                      25   Supp. 2d at 1124. Thus, Plaintiffs have no basis in arguing that BMI’s allegations
                      26   are in any way binding on EMI, especially in light of the fact that Please Gimme
                      27   was dissolved in early 2010. The fourth case on which Plaintiffs rely was jointly
                      28   defended by West, Please Gimme, and EMI, so any admission in the case would
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                       1   have been based on information that West’s team supplied. (Schwartz Decl. ¶ 16,
                       2   Exh. 4) But again, Plaintiffs do not, and cannot, avoid the inarguable fact that
                       3   Please Gimme has been dissolved since at least January 27, 2010.8
                       4         For each of these reasons, Plaintiffs’ position that Please Gimme is non-
                       5   diverse fails. Accordingly, the dissolved company’s former citizenship is irrelevant
                       6   and cannot destroy diversity. As a result, this Action was properly removed, and
                       7   should not be remanded to California state court.
                       8         B.     Plaintiffs’ Motion Also Should Be Denied Because
                                        The Court Has Federal Question Jurisdiction
                       9
                      10         As demonstrated above, this Court is vested with subject matter jurisdiction,
                      11   and the action should not be remanded, because the parties are completely diverse
                      12   and more than $75,000 is in issue. However, even if that were not the case (and it
                      13   is), remand nevertheless would be improper because the Court also has federal
                      14   question jurisdiction. (Dkt. 1 ¶¶ 29-38) Plaintiffs’ attack on the Court’s federal
                      15   question jurisdiction does not withstand scrutiny.
                      16         As an initial matter, Plaintiffs’ argument that removal is improper when
                      17   based on an affirmative defense of preemption is baseless. (See Mot. 13) EMI’s
                      18   Removal does not rely on a preemption affirmative defense (or any other
                      19   affirmative defense), but on the claims as alleged in the Complaint. (Dkt. 1 ¶¶ 33,
                      20
                           8
                            Each of the cases on which Plaintiffs rely for the proposition that EMI’s supposed
                      21   admissions in prior filings are fatal to “EMI’s attempt to deprive Please Gimme of
                           the New York citizenship EMI previously embraced” are easily distinguishable.
                      22   (See Mot. 12) In each of them, a party sought to avoid jurisdiction despite its prior
                           admissions regarding its own citizenship. See Sports Shinko Co. v. QK Hotel, LLC,
                      23   486 F. Supp. 2d 1168, 1180 (D. Haw. 2007) (rejecting plaintiff’s citizenship
                           argument based on plaintiff’s prior judicial admissions concerning its own
                      24   citizenship); etradeshow.com, Inc. v. Netopia Inc., Case No. 03-Cv-1380, 2004 WL
                           515552, *1-2 (N.D. Tex. Jan. 30, 2004) (same; further dismissing case based on
                      25   plaintiff’s violation of forum selection clause in filing in unbargained-for forum);
                           Tosco Corp. v. Cmtys. for a Better Env’t, 41 F. Supp. 2d 1061 (C.D. Cal. 1999)
                      26   (rejecting plaintiff’s citizenship argument based on plaintiff’s prior judicial
                           admissions concerning its own citizenship). These cases, thus, simply do not
                      27   involve the situation before the Court here in which Plaintiffs attempt to use EMI’s
                           (or BMI’s) reliance on Please Gimme’s representations as an offensive tactic to
                      28   destroy diversity.
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                       1   35-37 (quoting the Complaint in demonstrating that Plaintiffs’ constructive trust
                       2   and unjust enrichment claims are preempted)) In other words, unlike in David v.
                       3   Medtronic, Inc., Case No. 13-cv-4441, 2013 WL 12132038, at *2 (C.D. Cal. Aug.
                       4   6, 2013), a case on which Plaintiffs rely, Plaintiffs’ constructive trust and unjust
                       5   enrichment claims themselves are preempted. Accordingly, this case is far more
                       6   like Pizarro v. Aguilar, Case No. CV 10-2252, 2010 WL 11598015, at *2 (C.D.
                       7   Cal. July 6, 2010), in which the Court concluded that “if complete preemption
                       8   under the Copyright Act is established, then a case is properly removed to federal
                       9   court”.
                      10         Plaintiffs acknowledge (Mot. 14) that the Copyright Act completely preempts
                      11   a state law claim when “the work involved . . . fall[s] within the subject matter of
                      12   the Copyright Act”, and “the rights that a plaintiff asserts under state law. . . are
                      13   equivalent to those protected by the Copyright Act”. Kodadek v. MTV Networks,
                      14   Inc., 152 F.3d 1209, 1212 (9th Cir. 1998)) (internal quotations omitted); see also 17
                      15   U.S.C. § 301(a) (same); Laws v. Sony Music Entm’t, Inc., 448 F.3d 1134, 1137-38
                      16   (9th Cir. 2006) (same). As to the first prong of preemption, Plaintiffs admit that
                      17   West’s “Compositions fall within the scope of copyright subject matter”. (Mot. 14)
                      18   Accordingly, only the second “equivalent rights” prong of preemption is at issue in
                      19   the Motion.
                      20         However, Plaintiffs’ explanation of the second prong of preemption is
                      21   incorrect. Plaintiffs argue that, so long as an additional element exists in the state
                      22   law claim that is not required in a copyright claim, then the state law claim is not
                      23   preempted. (Mot. 14-15) That is not the law. “To survive preemption, the state
                      24   cause of action must protect rights which are qualitatively different from the
                      25   copyright rights”, and must include an “extra element” that alters the nature of the
                      26   action. Del Madera Props. v. Rhodes & Gardner, 820 F.2d 973, 977 (9th Cir.
                      27   1987), overruled on other grounds, Montz v. Pilgrim Films & Television, Inc., 649
                      28   F.3d 975 (9th Cir. 2011). But “[t]he mere presence of an additional element” does
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                       1   not save a claim from preemption; rather, “[t]he extra element must transform the
                       2   nature of the action.” Laws, 448 F.3d at 1144.9 “Although the elements of [a
                       3   plaintiff’s] state law claims may not be identical to the elements in a copyright
                       4   claim”, if the “underlying nature” of the state law claims are “part and parcel of a
                       5   copyright claim”, the state law claims are preempted. Id. As demonstrated below,
                       6   because Plaintiffs’ constructive trust and unjust enrichment causes of action seek to
                       7   enforce rights that are “equivalent to those [rights] protected by the Copyright Act”,
                       8   each claim is preempted.10
                       9                1.    Plaintiffs’ Constructive Trust Claim Is Preempted
                      10         The Removal demonstrates that Plaintiffs’ constructive trust claim is
                      11   preempted because it involves the same subject matter of the Copyright Act, and
                      12   seeks to protect the same rights in the Compositions that the Copyright Act
                      13   protects. (Dkt. 1 ¶¶ 29-35) Plaintiffs’ efforts to avoid preemption are unavailing.
                      14         As EMI demonstrated in the Removal, through their constructive trust claim,
                      15   Plaintiffs allege that EMI is withholding “the monies EMI received . . . from the
                      16   exploitation of any musical composition Plaintiffs delivered to EMI both before
                      17   and after October 1, 2010, less any monies EMI has already paid to Plaintiffs”.
                      18   (Cplt. ¶ 78 (emphasis added)) In other words, Plaintiffs seek, among other things,
                      19   100 percent of the revenues generated by EMI’s exploitations of Compositions that
                      20   were delivered to EMI, and in which EMI received a 50 percent ownership interest,
                      21   before October 1, 2010.11 Indeed, Plaintiffs demand all revenues generated in the
                      22
                           9
                             Although Plaintiffs attempt to distinguish Laws factually, they cannot distinguish
                      23   or escape this legal proposition.
                           10
                      24      Plaintiffs belabor that their Section 2855 claim is not preempted, and cannot form
                           the basis of federal question jurisdiction. (Mot. 16-17) Plaintiffs are attempting to
                      25   take down a straw man. Although Plaintiffs’ Section 2855 claim is wholly without
                           merit and violates the Exclusive New York Forum Selection Clause and New York
                      26   Choice Of Law Clause, EMI does not contend that it is preempted.
                           11
                              Even if Section 2855 applies (and it does not), it only restricts enforcement of
                      27   personal services contracts against employees after seven years. See Cal. Lab.
                           Code § 2855(b). It does not allow employees to rewind the clock and act as though
                      28   their contracts never existed, or authorize them to recover damages. See id.
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                       1   last four years by exploitations of all of the Compositions that West ever delivered
                       2   to, or granted a 50 percent ownership interest in to, EMI. But whether Plaintiffs are
                       3   entitled to all of the revenues generated by exploitations of the pre-October 1, 2010
                       4   Compositions (regardless of when the revenues were generated) depends on a
                       5   determination of who owns those Compositions. Put simply, Plaintiffs are not
                       6   entitled to 100 percent of those revenues if EMI had the right to exploit (and collect
                       7   revenues from) the pre-October 1, 2010 Compositions as their rightful 50 percent
                       8   owner. As a result, the October 1, 2010 demarcation is immaterial to Plaintiffs’
                       9   constructive trust claim. Accordingly, Plaintiffs have no basis whatsoever for
                      10   arguing that resolution of their Section 2855 claim, which would only impact
                      11   West’s alleged personal service obligations after October 1, 2010, is an “added
                      12   element” that alters the nature of the constructive trust claim, or brings it out of the
                      13   ambit of preemption. (See Mot. 22)
                      14         Rogers v. Yonce, Case No. 07-CV-704, 2008 WL 2853207 (N.D. Okla. July
                      15   21, 2008) does not alter this conclusion because it is inapposite. In Rogers, plaintiff
                      16   sought remedies, including those based on constructive trust, arising out of his
                      17   purported status as a co-owner of various copyrights. Id. at *1-2. But that is not
                      18   the situation before this Court. As discussed above, Plaintiffs do not allege that
                      19   they are entitled to any relief based on West’s status as a co-owner. Instead, they
                      20   claim that they are entitled to collect all money that EMI earned based on its lawful
                      21   exploitation of the Compositions as though West is now and has always been the
                      22   sole owner of the Compositions. (Cplt. ¶ 78) As a result, Plaintiffs are asking the
                      23   Court to determine (i) whether EMI owns 50 percent of the copyrights in the
                      24   Compositions delivered before October 1, 2010, and (ii) if EMI is not a copyright
                      25   owner (and it is), whether EMI violated West’s alleged exclusive rights in those
                      26   copyrights by exploiting the Compositions and retaining the revenues it earned as a
                      27   result of those exploitations. Because these allegations are cut from the same cloth
                      28   as a copyright ownership claim, Plaintiffs’ constructive trust claim is preempted.
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  P HILLIPS , LLP                                                                        DEFENDANTS’ OPPOSITION TO
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                       1   See Pizarro, 2010 WL 11598015 at *2-3.12
                       2                2.     Plaintiffs’ Unjust Enrichment Claim Also Is Preempted
                       3         The Removal also demonstrates that Plaintiffs’ unjust enrichment (i.e.,
                       4   restitution) claim is completely preempted because it is equivalent to a copyright
                       5   claim. (Dkt. 1 ¶¶ 29-34, 36-37) It is undisputed that the unjust enrichment claim
                       6   seeks recovery based on EMI’s alleged “taking [of] assignments of Plaintiffs’ rights
                       7   to the [C]ompositions . . . and receiving licensing and other revenues from the
                       8   exploitation . . . of [C]ompositions written both before and after October 1, 2010”.
                       9   (Cplt. ¶ 75) Thus, just as with their constructive trust claim, Plaintiffs’ unjust
                      10   enrichment claim requires resolution of (i) who owns the copyrights in the
                      11   Compositions (including Compositions delivered before October 1, 2010 to which
                      12   EMI always has had a 50 percent copyright ownership interest); and (ii) whether
                      13   EMI had the right to exploit and receive money from the exploitation of those
                      14   Compositions (i.e., whether it infringed the copyrights if it did not partially own
                      15   them). This is precisely the nature of a copyright ownership and infringement
                      16   action.13 See Melchior v. New Line Prods., Inc., 106 Cal. App. 4th 779, 791-93
                      17   (2003) (unjust enrichment claim preempted where plaintiff sought restitution based
                      18   on defendant’s use and distribution of plaintiff’s copyrightable work); see also
                      19   Ryoo Dental, Inc. v. Han, Case No. CV 15-308, 2015 WL 4208580, at *4 (C.D.
                      20
                           12
                      21      Plaintiffs’ attempt to distinguish Pizarro is overly simplistic and disregards their
                           own allegations. (Mot. 22-23) As Plaintiffs acknowledge, in Pizarro, plaintiffs
                      22   sought a constructive trust to “enforce their alleged exclusive right to distribute and
                           authorize distribution” of a show, and the resulting damages based on the allegedly
                      23   unauthorized distribution. 2010 WL 11598015, at *2-3. This is closely analogous
                           to what Plaintiffs seek here: Plaintiffs premise their constructive trust claim on the
                      24   theory that they are the exclusive owners of the copyrights in the pre-October 1,
                           2010 Compositions, and that EMI allegedly is violating their exclusive ownership
                      25   rights, entitling them to recover the monies that EMI has received from their
                           supposedly unauthorized exploitations of these works. (Cplt. ¶ 78) Thus, although
                      26   the subject matter of Pizarro is different (a television program versus musical
                           compositions), it is on all fours with the situation before the Court here.
                      27   13
                              Plaintiffs’ attempts to distinguish the cases upon which EMI relies are a
                           distraction and of no import. EMI’s cases concern unjust enrichment and
                      28   constructive trust claims, not Section 2855 claims.
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  P HILLIPS , LLP                                                                        DEFENDANTS’ OPPOSITION TO
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                       1   Cal. July 9, 2015) (unjust enrichment claim preempted where it “rests on the same
                       2   facts and asserts the same rights as a copyright claim”); Zito v. Steeplechase Films,
                       3   Inc., 267 F. Supp. 2d 1022, 1027 (N.D. Cal. 2003) (“where the unjust enrichment
                       4   arises from defendants’ unauthorized use of a copyrighted work, such an extra
                       5   element does not qualitatively change the rights at issue, the rights the plaintiff
                       6   holds in the copyrighted work, and does not avoid preemption”); Firoozye v.
                       7   Earthlink Network, 153 F. Supp. 2d 1115, 1128 (N.D. Cal. 2001) (unjust
                       8   enrichment claim preempted where it was based on the allegation that “defendants
                       9   unfairly benefitted from their unauthorized use of” copyrightable work, which is
                      10   “equivalent to the rights protected in . . . the Copyright Act”). Because Section
                      11   2855 has no impact on the ownership rights EMI has in the Compositions that were
                      12   delivered to EMI, and in which EMI received a 50 percent ownership interest,
                      13   before October 1, 2010, resolution of the Section 2855 claim is immaterial to
                      14   Plaintiffs’ unjust enrichment claim. Nevertheless, Plaintiffs attempt to avoid this
                      15   conclusion by offering a smattering of alternative “extra elements”, which they
                      16   argue alter the nature of their unjust enrichment claim. None of Plaintiffs’ offerings
                      17   is viable.
                      18          First, Plaintiffs’ argument that their unjust enrichment claim is analogous to
                      19   a non-preempted accounting claim, which contains extra elements not present in
                      20   copyright claims, is nonsensical. (See Mot. 18-19) Not only have Plaintiffs made
                      21   no attempt to plead an accounting claim (presumably because they would not
                      22   succeed had they done so), but the relief sought by their unjust enrichment claim is
                      23   vastly different than an accounting claim.14 Indeed, Plaintiffs do not, as they seem
                      24
                           14
                             An accounting claim has three elements: (1) a fiduciary relationship; (2) losses
                      25   in an amount that cannot be ascertained; and (3) misconduct. Kritzer v. Lancaster,
                           96 Cal. App. 2d 1, 7 (1950). Had Plaintiffs attempted to plead an accounting claim,
                      26   they would not have been able to satisfy even the first element, because courts have
                           held time and time again that music publishers like EMI owe no fiduciary duty to
                      27   their writers or their representatives. See, e.g., Cusano v. Klein, 280 F. Supp. 2d
                           1035, 1040-41 (C.D. Cal. 2003); Sony Music Entm’t, Inc. v. Robinson, Case No. 01
                      28   Civ. 6415, 2002 WL 272406, at *3 (S.D.N.Y. Feb. 26, 2002).
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                       1   to suggest based on the case law they cite, seek an accounting of one co-owner’s
                       2   fiduciary financial obligations to another arising under a contract. (Mot. 18)
                       3   Instead, Plaintiffs seek disgorgement of all of EMI’s ownership rights, and the
                       4   benefits derived therefrom, in the Compositions. (Cplt. ¶ 75) As discussed above,
                       5   this is far more in line with a copyright ownership and infringement action.
                       6         Plaintiffs’ reliance on Dead Kennedys v. Biafra, 37 F. Supp. 2d 1151 (N.D.
                       7   Cal. 1999), in support of their attenuated accounting theory also is misplaced. As a
                       8   threshold matter, Plaintiffs misleadingly suggest that the accounting claim
                       9   supposedly at issue there is similar to their unjust enrichment claim here. (Mot. 18)
                      10   But Plaintiffs are wrong. The “accounting” claim to which they refer was actually
                      11   an unfair business practices claim, which was based on the defendant’s alleged
                      12   “self-dealing with respect to promotional activities and failure to pay royalties[, and
                      13   which did] not attempt to mimic an infringement action by claiming unfair use of
                      14   the works at issue.” Dead Kennedys, 37 F. Supp. 2d at 1154. No parallel exists
                      15   here. Similarly, unlike Plaintiffs’ argument here that EMI improperly took
                      16   assignment of the copyrights of the Compositions (Cplt. ¶ 75), the plaintiff in Dead
                      17   Kennedys alleged “conversion of royalties, not of the works themselves”. 37 F.
                      18   Supp. 2d at 1154 (emphasis added). In any event, Dead Kennedys, and the
                      19   principles on which it relies, have been seriously called into question by multiple
                      20   authorities. See, e.g., N. Star Media, LLC v. Winogradsky-Sobel, Case No. CV 11-
                      21   466, 2011 WL 13220157, *8 (C.D. Cal. May 23, 2011) (disagreeing with Dead
                      22   Kennedys and holding that plaintiff’s claim for conversion of royalties was
                      23   preempted); see id. (citing Nimmer & Nimmer, Nimmer on Copyright, §
                      24   1.01[B](1)(i) fn.399 (rejecting plaintiff’s preemption attack as “overly clever—a
                      25   conversion claim is preempted, no matter how dressed up”)). Accordingly, Dead
                      26   Kennedys is of no help to Plaintiffs.
                      27         Second, Plaintiffs improperly suggest that copyright ownership claims only
                      28   exist in the absence of pre-existing contractual relationships, and that their allegedly
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                       1   contract-based unjust enrichment claim necessarily forecloses preemption. (Mot.
                       2   16, 19-20) Plaintiffs’ argument is based on a false premise. Copyright claims
                       3   routinely arise in situations in which the parties had a pre-existing contractual
                       4   relationship. See, e.g., S.O.S., Inc. v. Payday, Inc., 886 F.2d 1081, 1087-88 (9th
                       5   Cir. 1989) (“[t]he district court erred in assuming that a license to use a copyrighted
                       6   work necessarily precludes infringement”). Thus, Plaintiffs’ reliance on the parties’
                       7   contractual relationship to escape preemption by the Copyright Act is a non-starter.
                       8         Third, Plaintiffs argue that even if their unjust enrichment claim requires
                       9   resolution of EMI’s “rights to” and “ownership interest” in the Compositions, they
                      10   steer clear of preemption because their unjust enrichment claim does not raise
                      11   infringement issues. (See id.; see also Cplt. ¶¶ 75, 78) But Plaintiffs are ignoring
                      12   the second part of the relief they seek – namely, that if EMI does not partially own
                      13   the copyrights, then it allegedly has been improperly retaining the benefits they
                      14   received from the exploitation and distribution of those copyrights. (See Cplt. ¶ 75)
                      15   Because this is exactly the kind of right that the Copyright Act protects, the unjust
                      16   enrichment claim is preempted. See 17 U.S.C. § 106.
                      17         Fourth, Plaintiffs argue that although their unjust enrichment claim seeks
                      18   recovery based on EMI’s alleged taking of their copyrights in the Compositions,
                      19   their claim cannot be preempted because this is just an example of the relief they
                      20   seek. (Mot. 19) Plaintiffs are reaching, and cite no authority suggesting that allows
                      21   them to escape preemption on this basis. It makes no sense.
                      22         Fifth, Plaintiffs’ reliance on Dorsey v. Money Mack Music, Inc., 304 F. Supp.
                      23   2d 858 (E.D. La. 2003), is of no help to them. As the Dorsey court acknowledged,
                      24   “[c]laims for unjust enrichment usually are held to be preempted by the Copyright
                      25   Act.” Id. at 865 (quoting 1 Nimmer & Nimmer, Nimmer on Copyright § 1.01[B][1]
                      26   at 1-38 (2000)). Dorsey continued, “[p]reemption is appropriate in the majority of
                      27   instances because the typical unjust enrichment claim is qualitatively equivalent to
                      28   a cause of action for copyright infringement.” 304 F. Supp. 2d at 865. However,
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                       1   the Dorsey court ultimately held that the Louisiana-based unjust enrichment claim
                       2   at issue there was not preempted because it arose out of alleged “breaches of
                       3   fiduciary duties owed by defendant”. Id. at 866. The court specifically found that
                       4   the “critical element of a fiduciary relationship renders the unjust enrichment claim
                       5   qualitatively different from an infringement claim”. Id. Accordingly, the Dorsey
                       6   holding is far more limited than Plaintiffs suggest. At bottom, Dorsey does not
                       7   apply here because, among other reasons, Plaintiffs do not and cannot allege that
                       8   EMI owes any fiduciary obligations to Plaintiffs. (See fn.14, supra)
                       9         Plaintiffs cannot overcome EMI’s showing that the unjust enrichment claim
                      10   is preempted. For this additional reason, the Court has federal question jurisdiction.
                      11   Plaintiffs’ Motion should be denied.
                      12   IV.   CONCLUSION
                      13         For all of the foregoing reasons, EMI respectfully requests that the Court
                      14   deny Plaintiffs’ Motion.
                      15
                           Dated: August 9, 2019                     MANATT, PHELPS & PHILLIPS, LLP
                      16
                      17                                             By: /s/ Robert A. Jacobs
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